8 F.3d 821
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of AMERICA, Plaintiff-Appellee,v.Samuel Jackie CAMPBELL, Defendant-Appellant.
    No. 93-6366.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 22, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Solomon Blatt, Jr., Senior District Judge.  (CR-89-31, CA-92-1623-2-8J)
      Samuel Jackie Campbell, Appellant Pro Se.
      Albert Peter Shahid, Jr., Assistant United States Attorney, Charleston, South Carolina, for Appellee.
      D.S.C.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Campbell, No. CR-89-31;  CA-92-1623-2-8J (D.S.C. Mar. 16, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.*
    
    AFFIRMED
    
      
        *
         Campbell's motion for leave to amend is denied
      
    
    